                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

 IN RE:                                        )
 JAMES WILSON McMEANS, JR.                     )       CASE NO. 18-82525-CRJ12
                                               )            CHAPTER 12
        DEBTOR.                                )

         CONSENT MOTION TO EXTEND TIME TO FILE PROOF OF CLAIM
        AND TO FILE NON-DISCHARGEABILITY ADVERSARY PROCEEDING

        COMES NOW Monsanto Company, by and through its undersigned attorneys,

 (“Monsanto”), and for its Consent Motion to Extend Time to File Proof of Claim and to File

 Non-Dischargeability Adversary Proceeding (the “Motion”) states as follows:

        1.      On August 24, 2018 (the “Petition Date”), James Wilson McMeans, Jr.

 (“Debtor”) filed a voluntary petition for relief under Chapter 12 of the Bankruptcy Code.

        2.      On August 29, 2018, Michelle T. Hatcher (the “Trustee”) was appointed Chapter

 12 Trustee.

        3.      While the investigation into this matter is still ongoing, prior to the Petition Date,

 Monsanto believes that Debtor may have planted soybean seed saved from a prior harvest that

 contained Monsanto patented technologies and in doing so, Debtor infringed on Monsanto’s

 patents.

        4.      Debtor did not list Monsanto as a creditor in the schedules originally filed in this

 case on September 7, 2018 (Dkt. Nos. 8-11), and Monsanto did not get the original notice of

 bankruptcy filing provided to creditors listed on the mailing matrix.

        5.      At the meeting with the Debtor regarding the unauthorized use of the saved

 soybean seed containing Monsanto patented technologies, Debtor mentioned to a representative

 of Monsanto that Debtor had filed for bankruptcy. Monsanto investigated and determined that




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 this bankruptcy case had, in fact, been filed, so outside counsel for Monsanto contacted Debtor’s

 counsel and requested that Monsanto be added to the schedules. On October 22, 2018, Debtor

 filed an Amended Schedule E/F (Dkt. No. 26) listing Monsanto as a creditor in this bankruptcy

 case for the first time.

         6.      The deadline established for filing claims in this case is November 2, 2018.

         7.      The deadline established for filing a non-dischargeability action in this case is

 November 26, 2018.

         8.      Because Monsanto was neither included in the original schedules filed by Debtor

 nor notified of the bankruptcy filing until recently, Monsanto has not had sufficient time to

 thoroughly investigate its claims and the non-dischargeability of the claims that it has against

 Debtor before the deadlines established by the Court. Monsanto is still in the process of

 investigating its claim and the dischargeability of its claim, in order to potentially file a proof of

 claim and non-dischargeability action. Monsanto needs additional time to complete its

 investigation in order to determine whether to pursue these claims in this bankruptcy case.

         9.      Monsanto requests an additional 30 days to file a proof of claim to December 2

 2018.

         10.     Monsanto also requests an additional 30 days to file a non-dischargeability action

 pursuant to 11 U.S.C. § 523 to December 27, 2019.

         11.     This is the first request for an extension of time filed by Monsanto in this case,

 and this requests is not being made to unnecessarily delay the proceedings herein.

         12.     Counsel for Monsanto consulted with counsel for Debtor regarding the relief

 requested herein, and Debtor does not object to the entry of an order extending those deadlines

 for Monsanto, provided that the parties will retain any and all rights and defenses with respect to



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 any proofs of claim filed by Monsanto and any non-dischargeability actions pursued by

 Monsanto.

        WHEREFORE, Monsanto respectfully requests that this honorable court enter an order

 granting Monsanto until December 3, 2018 to file a proof of claim, granting Monsanto until

 December 27, 2018 to file a non-dischargeability action, and granting such other and further

 relief as is just and proper under the circumstances.

        Respectfully submitted this the 30th day of October, 2018.

                                                         /s/Mark P. Williams
                                                         ______________________________
                                                         Mark P. Williams, Attorney for
                                                         Monsanto Company
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        The undersigned hereby consents to the relief requested in the Motion.

                                                         /s/Stuart M. Maples
                                                         ______________________________
                                                         Stuart M. Maples, Attorney for
                                                         James Wilson McMeans, Jr.
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 30th day of October, 2018 I filed the foregoing electronically;
 and that I have served a copy of the foregoing via the CM/ECF system which provides service to
 all counsel of record.

                                                       /s/Mark P. Williams
                                                       ______________________________
                                                       OF COUNSEL




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